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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

Brian D. Taylor,

       Plaintiff,

v.                                                    Civil Action No.: 21-cv-1354-LMB-IDD

Experian Information Solutions Inc.;
Trans Union LLC;
and
Verizon Communications Inc.,

       Defendants.

                        STIPULATION AND PROPOSED ORDER
                         FOR BINDING ARBITRATION AND TO
                    STAY ALL PROCEEDINGS AGAINST DEFENDANT
                       VERIZON COMMUNICATIONS INC. ONLY

       Plaintiff Brian D. Taylor (“Plaintiff”) and Defendant Verizon Communications Inc.

(“Defendant” or “Verizon”), through their respective counsel of record, hereby stipulate as

follows:

       1.      On or about December 3, 2021, Plaintiff filed a Complaint in the United States

District Court for the eastern District of Virginia entitled Brian D. Taylor v. Verizon

Communications Inc., et al., Case Number 21-cv-1354-LMB-IDD. The Complaint asserts claims

against Defendant for: (1) violation of § 1681s-2(b)(1)(A) and (B) Fair Credit Reporting Act, 15

U.S.C. § 1681 et seq. (“FCRA”); (2) violation of § 1681s-2(b)(1)(C) and (D) of the FCRA; and

(3) violation of § 1681s-2(b)(1)(E) of the FCRA.

       2.      Plaintiff previously allegedly entered into an agreement to arbitrate all disputes

with Verizon. Without prejudice to any claims or defenses in this regard, pursuant to this alleged

arbitration agreement, the Plaintiff and Verizon hereby stipulate to arbitrate this dispute through
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the American Arbitration Association (“AAA”).

       3.      The parties also stipulate to stay the action against Verizon only pending

completion of arbitration. This does not affect the remaining defendants.

       IT IS SO STIPULATED.

Dated: April 5, 2022.

By: /s/ Leonard A. Bennett                           /s/ J. Caleb Jones
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Plaintiff’s Counsel                                 Counsel for Defendant Verizon
                                                    Communications, Inc.


APPROVED AND SO ORDERED this ___ day of April, 2022.




                                             _____________________________
                                             Leonie M. Brinkema
                                             United States District Judge




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